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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    AUGUSTA DIVISION


UNITED STATES OF AMERICA


              VS.                                                 CASE NO: CR117-47-002


SHAWANDA CUYLER


                                            ORDER


       The indictment against defendant, Shawanda Cuyler, was dismissed by order ofthis court

on February 9, 2018. Surety, Jim Henry Williams, has requested the return of the $500.00 cash

security posted on the defendant's $20,000.00 bond.

       IT IS HEREBY ORDERED that the cash collateral in the amount of $500.00 posted

by surety for the defendant, plus all accrued interest thereon, be retumed to Jim Henry Williams,

154 Meadow Brook Curve, Camden, AL 36726.

       This         day of     .       '_        2018 at Augusta, Georgia.




                                                    J. RANMbUAEL ,CHIEF JUDGE
                                                    UNITEDySTATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF GEORGIA
